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1                                 JURISDICTION AND VENUE
2          1.     This action arises under the laws of the United States, including the
3    American with Disabilities Act (“ADA” and (42 U.S.C. §12131 et seq.) (The "ADA"),
4    Section 504 of the Rehabilitation Act of 1973 (29 U.S.C. § 794) (the "Rehabilitation
5    Act"), as well as 42 U.S.C. § 1983, such that the Court has jurisdiction pursuant to 28
6
     U.S.C. §§ 1331 and 1343. Through the same events and omissions that form the basis
7
     for Plaintiffs’ federal claims, Defendants have also violated Plaintiffs’ rights under state
8
     law, over which this Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.
9
     This Court has jurisdiction over Plaintiffs’ claims for declaratory and injunctive relief
10
     pursuant to 28 U.S.C. § 2201 and 2202 and Rule 65 of the Federal Rules of Civil
11
     Procedure.
12
           2.     Venue over Plaintiffs’ claims is proper in the Central District of California
13
14   because Defendants reside in the Central District of California within the meaning of 28

15   U.S.C. § 1394, and because the events, acts, and omissions giving rise to Plaintiffs’

16   claims occurred in the Central District of California.
17                                       INTRODUCTION
18   Plaintiffs JONATHAN MEISTER and the GREATER LOS ANGELES AGENCY ON
19   DEAFNESS, INC. (GLAD) bring this action for equitable relief and damages against the
20   CITY OF HAWTHORNE, the HAWTHORNE POLICE DEPARTMENT (“HPD”), the
21   HPD Chief of Police and various HPD officers for failing to provide effective
22   communication to deaf and hard of hearing individuals, including himself, who come
23   into contact and interact with the HPD, thereby discriminating against them. Plaintiffs
24   also bring this complaint because of the failure on the part of the CITY, HPD, DOES 1
25   through 10 (collectively “DEFENDANTS”) to properly supervise and train their officers
26   and other employees to effectively communicate with individuals who are deaf and hard
27   of hearing during investigation, arrest, booking, interrogation, and while otherwise in
28   HPD's custody or otherwise interacting with HPD, in violation of federal and state law.
                                             COMPLAINT
                                                -2-
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1          3.     During the early evening of February 13, 2013, HPD officers confronted
2    Mr. Meister as he was removing his own property from the backyard of a friend’s home,
3    with the friend’s consent. The officers either failed to recognize that Mr. Meister is deaf,
4    cannot hear, and/or failed to take into account that he communicates primarily using
5    American Sign Language, a complete, complex language that employs signs made by
6    moving the hands combined with facial expressions and postures of the body. The HPD
7    officers shot taser darts into Mr. Meister, administered a number of painful electric
8    shocks, struck him with fists and feet, and forcibly took him to the ground. The officers
9    then arrested Mr. Meister allegedly for assaulting them.
10         4.     This incident occurred in substantial part because the HPD does not provide
11   its officers the training and resources to serve people who are deaf or hard of hearing,
12   including those who communicate primarily through American Sign Language. Mr.
13   Meister’s injuries were, in part, the result of Defendants’ failure to adopt and implement
14   policies and procedures to ensure that communications with individuals who are deaf
15   and hard of hearing are as effective as communications with others during law
16   enforcement interactions, as well as the HPD’s general deliberate indifference to the
17   behavior of its officers during their interaction with members of the public.
18         5.     Mr. Meister, who communicates primarily through American Sign
19   Language, alleges that HPD officers failed to take appropriate steps to communicate
20   effectively with him or furnish appropriate auxiliary aids throughout the course of
21   HPD’s confrontation with including their initial contact, interrogations in the field, arrest
22   and detention, including transporting him to the station, at the station and subsequent
23   release. He was never provided with any appropriate auxiliary aids which resulted in
24   HPD’s failure to effectively communicate with him in violation of federal and state law.
25   Plaintiffs further allege that HPD does not train or supervise their officers and
26   employees to provide hard of hearing or deaf individuals with effective communication,
27
28
                                             COMPLAINT
                                                -3-
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1    such as qualified sign language interpreters, when necessary to effectively communicate
2    with hard of hearing or deaf individuals.
3          6.     Plaintiffs therefore bring this action seeking declaratory and injunctive
4    relief to compel the HPD to adopt policies, procedures and training to officers to ensure
5    that appropriate auxiliary aids and services are provided to individuals who are deaf and
6    hard of hearing where necessary to ensure effective communication.
7          7.     Plaintiffs also seek compensatory, statutory, punitive damages (where
8    permitted), attorneys’ fees and costs.
9                                             PARTIES
10         8.     Plaintiff JONATHAN MEISTER (“Mr. Meister”) is an adult qualified to
11   bring suit. He is profoundly deaf, and therefore substantially limited in the major life
12   activities of hearing and speaking. Mr. Meister is, and at all times relevant herein was, a
13   qualified person with a “disability” as that term is defined under the ADA and its
14   implementing regulations (42 U.S.C. § 12102; 28 C.F.R. § 36.104), Section 504 and its
15   implementing regulations (29 U.S.C. § 705(20)(A); 28 C.F.R. 41.32(b)), and California
16   law (Cal. Gov't Code § 12926). Mr. Meister is, and at all times relevant herein was a
17   resident of the State of California.
18         9.     Plaintiff GREATER LOS ANGELES AGENCY ON DEAFNESS, INC.
19   (“GLAD”) is a nationally recognized advocacy and service agency addressing the needs
20   of the deaf and hard of hearing population. GLAD’s mission is to ensure equal access of
21   the deaf and hard of hearing community to the same opportunities afforded their hearing
22   counterparts. The organization’s general purposes and powers are directed around the
23   promotion of the social, recreational, cultural, educational, and vocational well-being of
24   its deaf and hard of hearing constituents.
25         10.    GLAD’s specific and primary purpose is to act as a coordinating agency
26   that addresses the broad social service needs of deaf and hard of hearing people through
27   direct service provision, advocacy, research and dissemination of information regarding
28
                                              COMPLAINT
                                                 -4-
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1    deafness to parents, professionals and consumers. For over 43 years, GLAD has been
2    improving the lives of the deaf and hard of hearing community, proudly serving 10
3    counties throughout Southern California: Los Angeles, Kern, Orange, Ventura, Santa
4    Barbara, Riverside, San Luis Obispo, San Bernardino, Inyo and Mono. GLAD is
5    committed to the philosophy “of, by, for and with the deaf and hard of hearing.”
6          11.      GLAD’s constituents and the individuals that it serves are “qualified
7    individuals with a disability” within the meaning of all applicable statutes including 42
8    U.S.C. § 12131(2) and Cal. Gov’t Code § 12926.
9          12.      GLAD is qualified to represent the interests of its constituents in this
10   lawsuit because:
11                  a.    Those constituents would otherwise have standing to sue in their own
12         right;
13                  b.    GLAD’s interest to ensure non-discriminatory access to government
14         programs, services and activities, including non-discriminatory law enforcement
15         procedures, for its constituents is germane to its purpose as an organization; and
16                  c.    Neither the claims asserted nor the relief requested through this
17         lawsuit require the participation of GLAD’s individual constituents.
18         13.      GLAD has also experienced harm including economic loss due to diversion
19   of their resources and a frustration of mission, and has independent standing to challenge
20   Defendants’ discriminatory acts and omissions as alleged herein.
21         14.      Defendant CITY OF HAWTHORNE (“CITY”) is a local government and
22   public entity within the meaning of Title II of the ADA, and receives federal funding
23   within the meaning of the Rehabilitation Act.
24         15.      Defendant HAWTHORNE POLICE DEPARTMENT (‘HPD”) is a local
25   government entity and an agency of Defendant CITY independently subject to suit. It is
26   a public entity within the meaning of Title II of the ADA, and on information and belief
27   receives federal funding within the meaning of the Rehabilitation Act. The CITY
28
                                              COMPLAINT
                                                 -5-
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1    provides funding to and oversight of Defendant HPD. The HPD is responsible for the
2    acts herein.
3          16.      Defendant ROBERT D. FAGER is the Chief of Police for the City of
4    Hawthorne. He is sued both in his individual and his official capacity. In doing the acts
5    alleged herein he acted within the scope of his employment and under color of state law.
6
           17.      Defendant JEFFREY SALMON is, and at all times relevant hereto was, an
7
     HPD Police Officer. In doing the acts alleged herein he acted within the scope of his
8
     employment and under color of state law.
9
           18.      Defendant JEFFREY TYSL is, and at all times relevant hereto was, an HPD
10
     Police Officer. In doing the acts alleged herein he acted within the scope of his
11
     employment and under color of state law.
12
           19.      Defendant ERICA BRISTOW is, and at all times relevant hereto was, an
13
14   HPD Police Officer. In doing the acts alleged herein she acted within the scope of her

15   employment and under color of state law.

16         20.      Defendant MARK HULTGREN is, and at all times relevant hereto was, an
17   HPD Police Officer. In doing the acts alleged herein he acted within the scope of his
18   employment and under color of state law.
19         21.      Under California Government Code § 815(a), Defendants are liable for any
20   and all wrongful acts in violation of state law hereinafter complained of committed by
21   any of these Defendants’ employees acting within the course and scope of their
22   employment.
23         22.      Plaintiffs are currently unaware of the true names and identities of DOE
24   Defendants 1-10 and therefore sue those Defendants by these fictitious names.
25   Plaintiffs will amend their Complaint to allege the DOE Defendants’ legal names and
26   capacities as soon as such information is ascertained. Plaintiffs are informed and
27   believe, and, based thereon allege, that all times herein mentioned each and every
28
                                             COMPLAINT
                                                -6-
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1    Defendant was the agent, servant, employee, co-conspirator, and/or representative of
2    each and every other Defendant and was, in doing the things complained of herein,
3    acting within the scope of said agency, service, employment, conspiracy, and/or
4    representation, and that each and every Defendant was acting within his/her actual or
5    apparent authority with the full knowledge and consent of each other Defendant.
6                                  GENERAL ALLEGATIONS
7          23.    Jonathan Meister is a graduate of Ohio State University with a master’s
8    degree in architecture. He is employed professionally.
9          24.    Prior to February 13, 2013, Mr. Meister had never been arrested.
10         25.    Mr. Meister, shortly before this incident, shared a residence with two
11   brothers, Daniel and David Gavrilovic. They moved to separate residences after the
12   Gavrilovic brothers bought the home located at 3559 West 147th Street in the City of
13   Hawthorne.
14         26.    Because there was repair and renovation work being done inside the home
15   at 3559 West 147th Street home on February 13, 2013, the Gavrilovic brothers stored
16   belongings on the back porch, accessible through a gate, but within a walled-in back
17   yard. Mr. Meister had some of his personal property stored there as well.
18         27.    Mr. Meister had made plans to visit family and go snowboarding in Utah,
19   and had a plane reservation for the morning of February 14, 2013. He made
20   arrangements with Daniel Gavrilovic to pick up his snowboard and winter clothes, and
21   some other property of his mixed in with the Gavrilovic brothers’ belongings on the
22   back porch at the 147th Street address. Daniel was not planning to be there at the time,
23   but it made no difference because Mr. Meister knew he could hop over a low fence
24   (about four feet high), go through the gate that Daniel was leaving unlocked for him, and
25   retrieve his belongings from the porch.
26         28.    Mr. Meister went by the Gavrilovic’s 147th Street home around 6:30 p.m.,
27   just as it was getting dark, so there would still be some light available, and he would still
28
                                             COMPLAINT
                                                -7-
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1    have time to attend his regular Bible study class. While he was going through boxes on
2    the back porch, on information and belief, one or more concerned neighbors looked over
3    the wall and called out to him. Mr. Meister did not respond. He could not see them
4    because he was facing away and could not hear them because he is profoundly deaf.
5          29.    The HPD was called to investigate what were mistakenly, but
6    understandably, perceived as “suspicious circumstances.”
7          30.    HPD officers Jeffrey Salmon and Jeffrey Tysl arrived first. They watched
8    Mr. Meister as he walked through the gate, out of the backyard, carrying some of his
9    personal belongings to his car. When Mr. Meister saw the officers, he put his belongings
10   down and, while still standing in the yard, behind the low fence, attempted to convey
11   that he cannot hear by gesturing to his ear. Mr. Meister, like many other people who are
12   deaf or hard of hearing, communicates primarily in ASL and does not speak effectively.
13   He requires extra space for hand and arm gestures to communicate, especially when the
14   people with whom he is trying to communicate are not familiar with sign language.
15         31.    Mr. Meister understood the body language of Officers Salmon and Tysl as
16   directing that Mr. Meister come to their side of the fence, and that there would be no
17   problem if he did so. Mr. Meister trusted that the officers understood that he was deaf.
18         32.    Following the officers’ instructions, Mr. Meister left his friends’ private
19   property – where he had permission to be – and hopped the low fence, onto the sidewalk.
20   Next he walked over to the officers, as they were directing him to do, all the while trying
21   to explain with calm hand gestures what was going on.
22         33.    Before Mr. Meister could communicate his reasons for being at the
23   Gavrilovic’s home, however, Officers Salmon and Tysl grabbed Mr. Meister’s wrists
24   and turned him around so that he could not see them. Because he is deaf, Mr. Meister
25   depends on using his hands while facing a person to communicate. The officers’ sudden
26   aggression, which both caused pain and interfered with his ability to communicate,
27   caused Mr. Meister reflexively to pull his hands away, hop back over the fence, and step
28
                                            COMPLAINT
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1    toward the gate. He was not resisting in any way, he only wanted to create some space
2    so that he could communicate with his hands while facing the officers because he did not
3    have his cell phone, which he usually uses to communicate, on his person at that
4    moment. The officers jumped over the low fence themselves -- one falling on his face in
5    the process -- grabbed Mr. Meister and pushed him up against a wall.
6          34.    According to the officers’ reports, Officer Salmon tried to put a potentially
7    lethal carotid choke hold around Mr. Meister’s neck, and after being unable to do so,
8    kneed him twice in the abdomen.
9          35.    Officers Salmon and Tysl then grabbed Mr. Meister’s arms and shoved him
10   against the Gavrilovics’ locked-up car parked in the driveway.
11         36.    At some point, HPD officers Erica Bristow and Mark Hultgren joined the
12   beating of Mr. Meister. After being unable to pull Mr. Meister to the ground (Mr.
13   Meister played club rugby at Ohio State and instinctively tries to stay on his feet when
14   being tackled), Office Tysl punched him in the face repeatedly while Officer Salmon
15   shot darts from a TASER Model X26 electrical control device into Mr. Meister’s left
16   side, causing five seconds of rapidly pulsing electrical shocks. Officer Salmon reported
17   that the X26 current had the desired result and Mr. Meister fell face down.
18         37.    While Mr. Meister was on the ground, Officer Salmon kicked Mr. Meister
19   four times in the stomach, and Officer Hultgren kicked Mr. Meister twice more in the
20   side. Officer Tysl elbowed Mr. Meister in the face repeatedly, Officer Bristow picked up
21   the X26 (which Officer Salmon had dropped) and delivered several more shocks.
22         38.    Officer Salmon kneeled on Mr. Meister’s back, using body weight to push
23   him into the ground. Officer Salmon then took the X26 back from Officer Bristow, and
24   pulled the trigger to give Mr. Meister another excruciatingly painful five seconds of
25   punishing shocks.
26         39.    Officer Hultgen pulled out a second X26 and “drive stunned” Mr. Meister
27   repeatedly, deliberately burning his flesh with electrical current, while Officer Tysl put
28
                                            COMPLAINT
                                               -9-
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1     Mr. Meister into a second carotid choke hold and knocked him unconscious. Mr. Meister
2     was then handcuffed and placed under arrest for assaulting the police officers.
3           40.    Other officers took Mr. Meister to get medical treatment.
4           41.    After receiving medical clearance, Mr. Meister was taken to the police
5     station, where he was finally provided the opportunity to communicate in writing and
6     was provided his cell phone so that he could text for help. He was told that he would be
7     held on $20,000 bail, but was later cited and released.
8           42.    Mr. Meister had to appear in court on more than one occasion. Eventually
9     the charges were dismissed.
10          43.    Mr. Meister contends, based on the foregoing, that the City of Hawthorne,
11    the HPD, and its employees and agents, acting under color of law and within the course
12    and scope of their employment, violated his civil rights and subjected him to various
13    common-law and statutory torts, all of which subject the City, the HPD and the involved
14    employees to personal and vicarious liability.
15          44.    Plaintiffs Meister and GLAD are informed, believe, and thereon allege that
16    Defendants have failed and continue to fail to:
17                 a.     Take appropriate steps to ensure that communication with individuals
18          who are deaf or hard of hearing is as effective as communications with others;
19                 b.     Provide appropriate auxiliary aids and services;
20                 c.     Give primary consideration to the type of auxiliary aids requested by
21          individuals who are deaf or hard of hearing; and
22                 d.     Ensure that individuals who are deaf or hard of hearing can obtain
23          information as to the existence and location of accessible services, activities, and
24          facilities.
25          45.    Plaintiffs Meister and GLAD are informed, believe, and thereon allege that
26    Defendants CITY and HPD have not adopted and do not enforce appropriate policies
27    and procedures to ensure that HPD takes appropriate steps to:
28
                                             COMPLAINT
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1                  a.     Ensure that communication with individuals who are deaf or hard of
2           hearing is as effective as communications with others;
3                  b.     Provides appropriate auxiliary aids and services;
4                  c.     Give primary consideration to the type of auxiliary aids requested by
5           individuals who are deaf or hard of hearing; and
6                  d.     Ensure that these persons can obtain information as to the existence
7           and location of accessible services, activities, and facilities.
8           46.    Plaintiffs Meister and GLAD are informed, believe, and thereon allege that
9     Defendants CITY and HPD have failed and continue to fail to provide HPD officers and
10    employees with appropriate training regarding the right of individuals who are deaf or
11    hard of hearing under the ADA and Section 504 and state disability rights laws.
12          47.    Defendants’ acts and omissions, as herein described, were intentional,
13    knowing, willful, wanton, malicious and/or recklessly in disregard for Plaintiffs
14    federally protected and state protected rights.
15          48.    Plaintiffs were deprived of an interest protected by the Constitution or laws
16    of the United States and the State of California, and Defendants caused such deprivation
17    while acting under color of state law.
18          49.    As the result of Defendants’ acts and omissions, as herein described,
19    Plaintiffs were, and will continue to be denied full and equal access to the programs,
20    services and activities offered to members of the public by HPD, and have suffered
21    discrimination, extreme physical pain and suffering, humiliation, hardship, anxiety, and
22    indignity, and severe mental and emotional anguish pain, all to their damage.
23          50.    An actual and substantial controversy currently exists between Plaintiffs
24    and Defendants as to their respective legal rights and duties. Accordingly, declaratory
25    relief pursuant to 28 U.S.C. § 2201 is appropriate.
26          51.    The violations of the ADA and Section 504 and related state statutes as set
27    forth herein, if not enjoined by this Court, will continue to afflict Plaintiffs and similarly
28
                                               COMPLAINT
                                                  - 11 -
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1     situated persons and cause them to suffer irreparable physical and emotional harm
2     unnecessarily. Plaintiffs have no plain, speedy, and adequate remedy at law for such an
3     injury. Accordingly, injunctive relief pursuant to 42 U.S.C. § 12133, 29 U.S.C. § 794(a)
4     and other authority is appropriate.
5           52.      In addition to declaratory and injunctive relief, Plaintiff Meister claims
6     damages for his physical and emotional injuries, punitive damages against the involved
7     individuals, statutory damages as appropriate, and attorneys’ fees and costs.
8                                  GOVERNMENT CLAIM FILED
9           53.      Plaintiff Meister timely filed a claim pursuant to § 910 et seq. of the
10    California Government Code with the City on August 10, 2013. On October 9, 2013, a
11    notice was issued to Plaintiff Meister informing him that his claim had been denied at a
12    meeting of the Hawthorne City Council on September 24, 2013.
13
                                   FIRST CLAIM FOR RELIEF
14                   Violation of Title II of the Americans with Disabilities Act
15                                    (42 U.S.C. § 12131 et seq.)
                          (Plaintiffs against Defendants HPD and CITY)
16
            54.      Plaintiffs incorporate by reference each and every allegation contained in
17
      the foregoing paragraphs.
18
            55.      Congress enacted the ADA upon finding, among other things, that “society
19
      has tended to isolate and segregate individuals with disabilities” and that such forms for
20
      discrimination continue to be “serious and pervasive social problem.” 42 U.S.C. §
21
      12101(a)(2).
22
23          56.      In response to these findings, Congress explicitly stated that the purpose of

24    the ADA is to provide “a clear and comprehensive national mandate for the elimination

25    of discrimination against individuals with disabilities” and “clear, strong, consistent,
26    enforceable standards addressing discrimination against individuals with disabilities.”
27    42 U.S.C. § 12101(b)(l) (2).
28
                                               COMPLAINT
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1           57.    Title II of the ADA provides in pertinent part: “[N]o qualified individual
2     with a disability shall, by reason of such disability, be excluded from participation in or
3     be denied the benefits of the services, programs, or activities of a public entity, or be
4     subjected to discrimination by any such entity.” 42 U.S.C. § 12132.
5           58.    The U.S. Department of Justice’s regulations implementing Title II, 28
6
      C.F.R. § 35.160, require public entities to:
7
                   a.       Take appropriate steps to ensure that communications with members
8
            of the public with disabilities are as effective as communications with others;
9
                   b.       Furnish appropriate auxiliary aids and services (including qualified
10
            sign language interpreters) where necessary to afford an individual with a
11
            disability an equal opportunity to enjoy the benefits of a service, program, or
12
            activity conducted by the public entity; and
13
14                 c.       In determining what type of auxiliary aid and service is necessary, a

15          public entity shall give primary consideration to the requests of the individual with

16          a disability.
17          59.    At 28 C.F.R. § 35.163(b), the regulations also require public entities to
18    ensure that persons who are deaf or are hard of hearing can obtain information as to the
19    existence and location of accessible, services, activities, and facilities.
20          60.    At all times relevant to this action, Defendants were public entities within
21    the meaning of Title II of the ADA and provided a program, service, or activity to the
22    general public.
23          61.    At all times relevant to this action, Plaintiffs were qualified individuals with
24
      a disability within the meaning of Title II of the ADA and met the essential eligibility
25
      requirements for the receipt of the services, programs, or activities of Defendants.
26
            62.    Through the acts and omissions of Defendants and their agents and
27
      employees described herein, Defendants have subjected Plaintiffs to discrimination on
28
                                               COMPLAINT
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1     the basis of disability in violation of Title II of the ADA by failing to provide them with
2     communication that is as effective as communication provided to the general public
3     during the course of law enforcement interactions including but not limited to
4     investigation; arrest; transportation; booking, questioning and interrogation at the
5     station; and/or while otherwise in DEFENDANTS custody.
6
            63.      Plaintiff is informed, believes, and thereon alleges that DEFENDANTS and
7
      their agents and employees could have reasonably provided him with one or more of the
8
      following auxiliary aids and services in order to effectively communicate with him:
9
            a. A qualified sign language interpreter at the scene of the investigation;
10
            b. A qualified sign language interpreter during the arrest;
11
            c. A qualified sign language interpreter informing Plaintiff of the reason for his
12
                  arrest and his Miranda rights;
13
14          d. A qualified sign language interpreter during his booking;

15          e. A qualified sign language interpreter during questioning and interrogation;

16          f. A qualified sign language interpreter while held in custody; and/or
17          g. A Telecommunication Device for the Deaf (TDD), Video Relay Service or
18                equally effective telecommunication system while held in custody.
19          64.      PLAINTIFFS are informed, believe, and thereon allege that
20    DEFENDANTS and their agents and employees have failed and continue to fail to:
21                   a. Adopt and enforce additional policies and procedures for
22                      communicating effectively with individuals who are deaf or hard of
23                      hearing;
24
                     b. Train and supervise HPD officers and employees to communicate
25
                        effectively with individuals who are deaf or hard of hearing; and
26
                     c. Train and supervise HPD officers and employees regarding the culture
27
                        and behavior of individual who are deaf or hard of hearing.
28
                                              COMPLAINT
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1     Because DEFENDANTS' discriminatory conduct is ongoing, declaratory and injunctive
2     relief are appropriate remedies.
3           65.    Pursuant to 42 U.S.C. §§ 12133 and 12205, Plaintiffs pray for judgment as
4     set forth below.
5
6                                SECOND CLAIM FOR RELIEF
                     Violation of Section 504 of the Rehabilitation Act of 1973
7
                                          (29 U.S.C. § 794)
8                         (Plaintiffs against Defendants HPD and CITY)
9           66.    Plaintiffs incorporate by reference each and every allegation contained in
10    the foregoing paragraphs.
11          67.    Section 504 of the Rehabilitation Act of 1973 provides in pertinent part:
12    “[N]o otherwise qualified individual with a disability. . . shall, solely by reason of her or
13    his disability, be excluded from the participation in, be denied the benefits, or be
14
      subjected to discrimination under any program or activity receiving federal financial
15
      assistance . . .” 29 U.S.C. § 794.
16
            68.    Plaintiffs were at all times relevant herein qualified individuals with
17
      disabilities within the meaning of the Rehabilitation Act because they have physical
18
      impairments that substantially limits one or more of their major life activities. See 29
19
      U.S.C. § 705(20)(B).
20
            69.    At all times relevant to this action Defendants were recipients of federal
21
22    funding within the meaning of the Rehabilitation Act.

23          70.    Through their acts and omissions described herein, Defendants have

24    violated the Rehabilitation Act by excluding Plaintiffs from participation in, by denying
25    them the benefits of, and subjecting them to discrimination in the benefits and services
26    Defendants provide to the general public.
27
28
                                              COMPLAINT
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1           71.     Pursuant to the remedies, procedures, and rights set forth in 29 U.S.C. §
2     794(a), Plaintiffs pray for judgment as set forth below.
3
                                   THIRD CLAIM FOR RELIEF
4                               Violation of Cal. Gov’t Code § 11135
5                          (Plaintiffs against Defendants HPD and CITY)
6           72.     Plaintiffs incorporate by reference each and every allegation contained in
7     the foregoing paragraphs.
8           73.     Section 11135(a) of the California Government Code provides in pertinent
9     part: “No person in the State of California shall, on the basis of… disability, be
10    unlawfully denied the benefits of, or be unlawfully subjected to discrimination under,
11    any program or activity that is funded directly by the state or receives any financial
12    assistance from the state.” Cal. Gov’t Code § 11135(a).
13          74.     A violation of Title II of the ADA is a violation of Cal. Gov’t Code
14    § 11135(b).
15          75.     At all times relevant to this action, Defendants received financial
16    assistance from the state of California.
17          76.     Defendants’ acts and omissions, as described herein, have excluded and/or
18    denied Plaintiffs the benefit of and/or participation in the programs, services and
19    activities they offer to the general public, thereby violating Plaintiffs’ rights under Cal.
20    Gov. Code § 11135.
21          77.     Pursuant to the remedies, procedures, and right set forth in 42 U.S.C.
22    §§ 12133 and 12205, Plaintiffs pray for judgment as set forth below.
23
                                FOURTH CLAIM FOR RELIEF
24
                        Deprivation Of Civil Rights -- Individual Liability
25                                      (42 U.S.C. § 1983)
        (Plaintiff Meister against Defendants Salmon, Tysl, Bristow, Hultgren and Does)
26
            78.     Plaintiff Meister incorporates by reference each and every allegation
27
      contained in the foregoing paragraphs.
28
                                              COMPLAINT
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1           79.    Defendants Salmon, Tysl, Bristow and Hultgren and Does 1 through 10,
2     while acting under color of law, deprived Plaintiff of his civil rights by violating his
3     rights under the Fourth and Fourteenth Amendments to be secure in his person and free
4     from excessive force, false arrest and imprisonment, and malicious prosecution.
5           80.    The above acts and omissions, while carried out under color of law, have
6     no justification or excuse in law, and instead constitute a gross abuse of governmental
7     authority and power, shock the conscience, are fundamentally unfair, arbitrary and
8     oppressive, and unrelated to any activity in which governmental officers may
9     appropriately and legally undertake in the course of protecting persons or property, or
10    ensuring civil order. The above acts and omissions were consciously chosen from
11    among various alternatives.
12          81.    As a direct and proximate result of the aforesaid acts, omissions, customs,
13    practices, policies and decisions of the aforementioned defendants, Plaintiff was injured
14    in his health and person. He suffered and will continue to suffer great mental and
15    physical pain, suffering, anguish, fright, nervousness, anxiety, shock, humiliation,
16    indignity, embarrassment, harm to reputation, and apprehension, which have caused
17    Plaintiff to sustain damages in a sum to be determined at trial.
18          82.    As a further direct and proximate result of the aforesaid acts, omissions,
19    customs, practices, policies and decisions of the aforementioned defendants Plaintiff
20    suffered past and future losses of income which have caused Plaintiff to sustain
21    damages in a sum to be determined at trial.
22          83.    As a further direct and proximate result of the aforesaid acts, omissions,
23    customs, practices, policies and decisions of the aforementioned defendants, Plaintiff
24    incurred medical expenses, and will incur future medical expenses, which have caused
25    Plaintiff to sustain damages in a sum to be determined at trial.
26          84.    As a further direct and proximate result of the aforesaid acts, omissions,
27    customs, practices, policies and decisions of the aforementioned defendants, Plaintiff
28
                                              COMPLAINT
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1     was taken to jail and had to respond to criminal court proceedings where he could have
2     theoretically been convicted of a crime and sentenced to jail.
3           85.    The above mentioned individually named and Doe defendants, acted under
4     color of law, and both separately and in concert. The aforementioned acts of those
5     defendants, and each of them, were willful, wanton, malicious and oppressive, with
6     reckless disregard or with deliberate indifference and with the intent to deprive Plaintiff
7     of his constitutional rights and privileges, and did in fact violate the aforementioned
8     rights and privileges, entitling Plaintiff to exemplary and punitive damages in an
9     amount to be proven at the trial of this matter.
10
11                                FIFTH CLAIM FOR RELIEF
                  Deprivation Of Civil Rights -- Entity and Supervisory Liability
12                                      (42 U.S.C. § 1983)
13                    (Plaintiff Meister against HPD, CITY and FAGER)
            86.    Plaintiff Meister incorporates by reference each and every allegation
14
      contained in the foregoing paragraphs.
15
            87.    Plaintiff is informed and believes and thereon alleges that, at all times
16
      herein mentioned, defendants HPD, CITY and FAGER, with deliberate indifference,
17
      and conscious and reckless disregard to the safety, security and constitutional and
18
      statutory rights of Plaintiff, including the right to be free from unreasonable seizures,
19
      excessive force and malicious prosecution under the Fourth Amendment, and the right
20
      to procedural and substantive due process and equal protection under the Fourteenth
21
      Amendment, maintained, enforced, tolerated, ratified, permitted, acquiesced in, and/or
22
      applied, among others, the following policies, practices and customs:
23
                   a.     Failing to adequately train, supervise, and control their officers in
24
            uses of force;
25
                   b.     Failing to adequately train, supervise, and control their officers in
26
            proper communication and appropriate responses to members of the public;
27
28
                                              COMPLAINT
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1                  c.    Failing to set up systems to prevent abuse by officers including the
2           failure to properly investigate uses of force;
3                  d.    Failing to discipline officers involved in abusing their authority; and
4                  e.    Condoning and encouraging their officers in the belief that they can
5           violate the rights of persons such as the Plaintiff in this action with impunity, and
6           that such conduct will not adversely affect their opportunities for promotion and
7           other employment benefits.
8           88.    As a direct and proximate result of the aforesaid acts, omissions, customs,
9     practices, policies and decisions of the aforementioned defendants, Plaintiff was injured
10    in his health and person. He suffered and will continue to suffer great mental and
11    physical pain, suffering, anguish, fright, nervousness, anxiety, shock, humiliation,
12    indignity, embarrassment, harm to reputation, and apprehension, which have caused
13    Plaintiff to sustain damages in a sum to be determined at trial.
14          89.    As a further direct and proximate result of the aforesaid acts, omissions,
15    customs, practices, policies and decisions of the aforementioned defendants Plaintiff
16    suffered past and future losses of income which have caused Plaintiff to sustain
17    damages in a sum to be determined at trial.
18          90.    As a further direct and proximate result of the aforesaid acts, omissions,
19    customs, practices, policies and decisions of the aforementioned defendants, Plaintiff
20    incurred medical expenses, and will incur future medical expenses, which have caused
21    Plaintiff to sustain damages in a sum to be determined at trial.
22          91.    As a further direct and proximate result of the aforesaid acts, omissions,
23    customs, practices, policies and decisions of the aforementioned defendants, Plaintiff
24    was taken to jail and had to respond to criminal court proceedings where he could have
25    theoretically been convicted of a crime and sentenced to jail.
26          92.    The aforementioned actions of FAGER, both separately and in concert
27    with the individual and doe defendants, were willful, wanton, malicious and oppressive,
28
                                             COMPLAINT
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1     with reckless disregard or with deliberate indifference and with the intent to deprive
2     Plaintiff of his constitutional rights and privileges, and did in fact violate the
3     aforementioned rights and privileges, entitling Plaintiff to exemplary and punitive
4     damages against FAGER in an amount to be proven at the trial of this matter.
5
                                  SIXTH CLAIM FOR RELIEF
6                                   Deprivation of Civil Rights
7                     (Cal. Civ. Code §§ 51, 51.7, 52, 52.1, 54, 54.1, and 54.3)
                             (Plaintiff Meister against all Defendants)
8
            93.    Plaintiff Meister incorporates by reference each and every allegation
9
      contained in the foregoing paragraphs.
10
            94.    Defendants provide police services and public safety services to the
11
      residents and other persons present in the City of Hawthorne. They are prohibited by
12
      the terms of the Unruh Civil Rights Act, Cal. Civil Code § 51 et seq., from engaging in
13
      any discrimination against any person suffering from a disability such as deafness. By
14
      virtue of the conduct alleged above, defendants, and each of them, discriminated against
15
      and denied equal access to Plaintiff and others similarly situated in violation of Cal.
16
      Civil Code § 51.
17
            95.    By using excessive force as described above on Plaintiff, including beating
18
      with fists and feet, take downs, and repeatedly shocking Plaintiff with a taser,
19
      Defendants violated Plaintiff’s “right to be free from any violence, or intimidation by
20
      threat of violence, committed against their persons or property because of” his
21
      disability in violation of Cal. Civ. Code § 51.7.
22
            96.    The United States Constitution, Amend. IV, and the California
23
      Constitution, Art. I § 13, guarantee the right of persons to be free from excessive force
24
      and seizure without probable cause. Defendants, by engaging in the wrongful conduct
25
      alleged herein, denied these right to Plaintiff, thus giving rise to claims for damages
26
      pursuant to Cal. Civ. Code § 52.1.
27
28
                                               COMPLAINT
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1           97.    As a direct and proximate cause of the aforementioned acts of Defendants,
2     Plaintiff was injured as set forth above, and is entitled to statutory damages under Cal.
3     Civ. Code § 52, as well as compensatory and punitive damages according to proof.
4           98.    Based on the foregoing allegations, Defendants violated the rights
5     guaranteed to Plaintiff by Cal. Civil Code §§ 54 and 54.1 and Defendants are thereby
6     liable for treble actual damages provided by Cal. Civil Code § 54.3.
7           99.    As a direct and proximate result of the aforesaid acts, omissions, customs,
8     practices, policies and decisions of the aforementioned defendants, Plaintiff was injured
9     in his health and person. He suffered and will continue to suffer great mental and
10    physical pain, suffering, anguish, fright, nervousness, anxiety, shock, humiliation,
11    indignity, embarrassment, harm to reputation, and apprehension, which have caused
12    Plaintiff to sustain damages in a sum to be determined at trial.
13          100. As a further direct and proximate result of the aforesaid acts, omissions,
14    customs, practices, policies and decisions of the aforementioned defendants Plaintiff
15    suffered past and future losses of income which have caused Plaintiff to sustain
16    damages in a sum to be determined at trial.
17          101. As a further direct and proximate result of the aforesaid acts, omissions,
18    customs, practices, policies and decisions of the aforementioned defendants, Plaintiff
19    incurred medical expenses, and will incur future medical expenses, which have caused
20    Plaintiff to sustain damages in a sum to be determined at trial.
21          102. As a further direct and proximate result of the aforesaid acts, omissions,
22    customs, practices, policies and decisions of the aforementioned defendants, Plaintiff
23    was taken to jail and had to respond to criminal court proceedings where he could have
24    theoretically been convicted of a crime and sentenced to jail.
25          103. The above mentioned individually named and Doe defendants, excluding
26    defendants CITY, HPD acted under color of law, and both separately and in concert.
27    The aforementioned acts of those defendants, and each of them, were willful, wanton,
28
                                             COMPLAINT
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1     malicious and oppressive, with reckless disregard or with deliberate indifference and
2     with the intent to deprive Plaintiff of his constitutional rights and privileges, and did in
3     fact violate the aforementioned rights and privileges, entitling Plaintiff to exemplary
4     and punitive damages in an amount to be proven at the trial of this matter.
5
6                                      PRAYER FOR RELIEF

7           WHEREFORE, PLAINTIFFS request judgment as follows:

8           1.     A declaration that Defendants’ conduct as alleged herein violated and

9     continues to violate Title II of the Americans with Disabilities Act, Section 504 of the
10    Rehabilitation Act of 1973, and California Government Code § 11135.
11           2.    An injunction against HPD and/or the CITY including but not limited to the
12    following:
13       a. Implementation of policies and procedures that ensure that HPD personnel have
14          access to qualified sign language interpreters on an on call, twenty four hours,
15          seven days a week basis, and should be able to summon qualified sign language
16
            interpreter within forty five minutes of making the request. Additionally, HPD
17
            personnel training should include instruction that enlisting the aid of personnel
18
            with limited use of sign language who are not qualified interpreters, is likely to
19
            result in ineffective communication with people who are deaf or hard of hearing.
20
         b. Implementation of policies and procedures to inform individuals who are deaf or
21
            hard of hearing of the availability of auxiliary aids and services, including but no
22
            limited to the provision of a qualified sign language interpreter. These policies
23
24          should be posted in HPD stations and offices.

25       c. HPD shall revise and/or update its training and supervision programs to educate

26          its officers and employees about providing effective communication and auxiliary

27          aids to persons who are deaf or hard of hearing consistent with ADA and
28
                                              COMPLAINT
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1           California law to ensure equal access to programs, services, and activities.
2           Training should include but not be limited to the provision of “primary
3           consideration.” Such training should also include immediate implementation of a
4           disability sensitivity training for all HPD officers and staff.
5        d. HPD will maintain Telecommunication Devices for the Deaf and/or an equally
6
            effective system such as a Video Relay System, at all offices and divisions that
7
            directly interact with the public. Each station shall ensure that all employees
8
            receiving phone calls from the public, and/or facilitating outgoing phone calls by
9
            persons who are deaf or hard of hearing, receive training and/or instruction on the
10
            use of TDDs.
11
         e. Implementation of policies and procedures to allow individuals whose requests for
12
            “effective communication” are not adequately addressed to obtain an adequate
13
14          resolution. These policies and procedures should include avenues for redress at

15          the local (substation) level, as well as at the regional level.

16       f. Implementation of any other policies and procedures necessary to prevent
17          discrimination against individuals with disabilities through the failure to provide
18          effective communication.
19       g. Provision of sufficient documentation on a quarterly basis to plaintiff’s counsel
20          for three years after resolution to evidence compliance with the above conditions.
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                                              COMPLAINT
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